     8:05-cr-00393-LSC-FG3        Doc # 18    Filed: 11/17/05   Page 1 of 1 - Page ID # 24




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                      )        CASE NO. 8:05CR393
                                               )
                     Plaintiff,                )
                                               )                     ORDER
v.                                             )
                                               )
FINLEY WADE PLENTY CHIEF,                      )
                                               )
                     Defendant.                )

        THIS MATTER came before the Court on the 17th day of November, 2005, on the

Motion of the Defendant for an order to seal document. (Filing No. 17)

        The Court, being fully advised in the premises, finds that the Motion should be

granted.

        IT IS THEREFORE ORDERED that the document named in Defendant’s Motion to

Seal Document shall be filed under seal.

                                             BY THE COURT:


                                             S/ F.A. Gossett
                                             United States Magistrate Judge
